               Case 17-17495-LMI        Doc 29        Filed 10/03/17   Page 1 of 25



                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
IN RE:                                                Case No.17-17495-LMI
                                                      Chapter 7
ESSIE M RIGGINS,


            Debtor.
______________________________________/

               PARAMOUNT RESIDENTIAL MORTGAGE GROUP, INC.’S
                  MOTION FOR RELIEF FROM AUTOMATIC STAY


         Paramount Residential Mortgage Group, Inc. (“Movant”), by and through undersigned
counsel, files this Motion for Relief from the Automatic Stay, and in support states as follows:
         1.    The Court has jurisdiction over this matter pursuant to 11 U.S.C. §362, Rule
4001(a) of the Federal Rules of Bankruptcy Procedure, and the various other applicable
provisions of the United States Bankruptcy Code, Federal Rules of Bankruptcy Procedure, and
the laws of the United States of America.
         2.    On June 15, 2017, Debtor filed a voluntary petition for relief pursuant to Chapter
7 of the United States Bankruptcy Code.
         3.    Debtor owns certain real property located at 20535 Marlin Road, Cutler Bay,
Florida 33189 (the “Property”) in Miami-Dade County, Florida, legally described as:
               LOT 4, BLOCK 22, OF CUTLER RIDGE SECTION FOUR,
               ACCORDING TO THE PLAT THEREOF AS RECORDED IN
               PLAT BOOK 60, PAGE 23, OF THE PUBLIC RECORDS OF
               MIAMI-DADE COUNTY, FLORIDA. A.P.N.: 36-6009-009-
               0990
         4.    The Property is secured by virtue of a Promissory Note and Mortgage dated May
2, 2014 in the original amount of $208,160.00, recorded in the Public Records of Miami-Dade
County, Florida in Book 29170 at Page 4361-4369. True and correct copies of the relevant loan
documents are attached as Composite Exhibit “A.”
         5.    The Property has not been claimed exempt by Debtor. The Property has not been
abandoned by the Trustee. Moreover, according to the Chapter 7 Individual Debtor’s Statement
of Intentions, Debtor is surrendering the Property.
               Case 17-17495-LMI         Doc 29     Filed 10/03/17   Page 2 of 25



       6.      As of September 1, 2017, Debtor has failed to provide adequate protection to
Movant by failing to make payments pursuant to the Mortgage since October 1, 2015. See
Affidavit in Support of Motion for Relief from Stay attached as Exhibit “B.”
       7.      As of September 1, 2017, Movant has completed the Indebtedness Worksheet,
wherein the total pre-petition indebtedness is $254,659.75 and the total post-petition
indebtedness is $5,740.00. See Indebtedness Worksheet attached as Exhibit “C.”
       8.      The post-petition payment address is: 425 Phillips Boulevard, Ewing, NJ 08618.
       9.      The estimated value of the property is $187,692.00. This valuation is based on the
fair market value as determined by the Miami-Dade County Property Appraiser. See Miami-
Dade County Property Appraisal attached as Exhibit “D.” Thus, there is no equity in the
property for the benefit of unsecured creditors of the estate.
       10.     Movant’s security interest in the Property is being significantly jeopardized by
Debtor’s failure to make regular payments under the subject loan documents while Movant is
prohibited from pursuing lawful remedies to protect such security interest.
       11.     Movant respectfully requests that the Court grant it relief from the automatic stay
in this case pursuant to 11 U.S.C. §362(d)(1), for cause, namely the lack of adequate protection
to Movant for its security interest in the subject property. The value of the collateral is
insufficient in and of itself to provide adequate protection to Movant, which the Bankruptcy
Code requires to be provided.
       12.     Movant further requests that the Court Order entered pursuant to the instant
Motion provide that all communications sent by Movant in connection with proceeding against
the property including, but not limited to, notices required by state law and communications to
offer and provide information with regard to a potential Forbearance Agreement, Loan
Modification, Refinance Agreement, Loss Mitigation Agreement, or other Loan Workout, be
sent directly to Debtor.
       13.     Pursuant to 11 U.S.C. §362(e), Movant hereby requests that in the event a hearing
is necessary, that said hearing be held within thirty (30) days.
       14.     Movant has incurred attorneys’ fees in the amount of $931.00 and costs in the
amount of $176.00 as a result of the necessity of filing this motion. Movant’s attorneys’ fees and
costs are recoverable as part of the debt pursuant to the loan documents but shall not be a
personal liability of Debtor.
              Case 17-17495-LMI        Doc 29     Filed 10/03/17     Page 3 of 25



       15.     Movant respectfully requests that the Court waive the fourteen (14) day stay of
the Order Granting Relief pursuant to Rule 4001(a)(3) of the Federal Rules of Bankruptcy
Procedure, so that Movant can pursue its in rem remedies without further delay.
       WHEREFORE, Movant respectfully requests that the automatic stay be lifted so that
Movant may be permitted to protect its security interest in Debtor’s property outside of the
bankruptcy forum, that in the event that a hearing is necessary on this Motion that it be held
within thirty (30) days, that Movant’s attorneys’ fees and costs incurred in the filing of this
motion be recoverable as part of the debt pursuant to the loan documents but shall not be a
personal liability of Debtor,that the Court waive the fourteen (14) day stay, and for such further
relief as the Court may deem just and proper.

                                                    Respectfully Submitted:

                                                    /s/ Rachel L. Ahlum
                                                    Rachel L. Ahlum, Bar No.: 91291
                                                    Attorney for Movant
                                                    Aldridge Pite, LLP
                                                    Fifteen Piedmont Center
                                                    3575 Piedmont Road, N.E., Suite 500
                                                    Atlanta, GA 30305
                                                    Phone: (404) 994-7400
                                                    Fax: (888) 873-6147
                                                    Email: rahlum@aldridgepite.com
              Case 17-17495-LMI       Doc 29     Filed 10/03/17    Page 4 of 25



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion for Relief
from the Automatic Stay was served electronically or via U.S. Mail, first-class postage prepaid,
to:
DEBTOR ATTORNEY
(via electronic notice)
None (Pro Se)

DEBTOR
Essie M Riggins
26051 SW 130 Ave
Homestead, FL 33032

TRUSTEE
(via electronic notice)
Ross R Hartog
9130 S Dadeland Blvd # 1800
Miami, FL 33156
rhartog@mrthlaw.com

UNITED STATES TRUSTEE
(via electronic notice)
Office of the U.S. Trustee
USTPRegion21.MM.ECF@usdoj.gov

Dated: October 3, 2017

                                                   /s/ Rachel L. Ahlum
                                                   Rachel L. Ahlum, Bar No.: 91291
                                                   Attorney for Movant
                                                   Aldridge Pite, LLP
                                                   Fifteen Piedmont Center
                                                   3575 Piedmont Road, N.E., Suite 500
                                                   Atlanta, GA 30305
                                                   Phone: (404) 994-7400
                                                   Fax: (888) 873-6147
                                                   Email: rahlum@aldridgepite.com
 
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 5 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 6 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 7 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 8 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 9 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 10 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 11 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 12 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 13 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 14 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 15 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 16 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 17 of 25
                Composite Exhibit A
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 18 of 25
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 19 of 25
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 20 of 25




                                                              Exhibit B
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 21 of 25




                                                              Exhibit B
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 22 of 25




                                                              Exhibit B
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 23 of 25
Case 17-17495-LMI   Doc 29   Filed 10/03/17   Page 24 of 25
8/18/2017                           Case 17-17495-LMIProperty
                                                         Doc    29 Application
                                                              Search Filed 10/03/17          Page 25 of 25
                                                                               - Miami-Dade County




                                                                      Summary Report
                                                                                                                                                      Generated On : 8/18/2017

Property Information
Folio:                                      36-6009-009-0990

                                            20535 MARLIN RD
Property Address:
                                            Cutler Bay, FL 33189-2423

Owner                                       ESSIE RIGGINS
                                            20535 MARLIN RD
Mailing Address
                                            CUTLER BAY, FL 33189 USA
PA Primary Zone                             0100 SINGLE FAMILY - GENERAL
                                            0101 RESIDENTIAL - SINGLE
Primary Land Use
                                            FAMILY : 1 UNIT
Beds / Baths / Half                         3/2/0
Floors                                      1
Living Units                                1
Actual Area                                 1,880 Sq.Ft
Living Area                                 1,594 Sq.Ft                                                                    2016 Aerial Photography
                                                                                                                                                          2 0 0 ft
Adjusted Area                               1,654 Sq.Ft
Lot Size                                    8,250 Sq.Ft                                    Taxable Value Information
Year Built                                  1956                                                                                       2017               2016               2015
                                                                                           County
Assessment Information
                                                                                           Exemption Value                        $100,000           $100,000           $100,000
Year                                        2017               2016               2015     Taxable Value                            $59,717           $56,432            $55,345
Land Value                               $82,500           $66,000             $55,688     School Board
Building Value                         $104,202           $105,690             $98,843     Exemption Value                          $25,000           $25,000            $25,000
XF Value                                    $990             $1,007               $814     Taxable Value                          $134,717           $131,432           $130,345
Market Value                           $187,692           $172,697            $155,345     City
Assessed Value                         $159,717           $156,432            $155,345     Exemption Value                        $100,000           $100,000           $100,000
                                                                                           Taxable Value                            $59,717           $56,432            $55,345
Benefits Information
                                                                                           Regional
Benefit                     Type                            2017       2016       2015
                                                                                           Exemption Value                          $50,000           $50,000            $50,000
Save Our Homes Cap Assessment Reduction $27,975 $16,265
                                                                                           Taxable Value                          $109,717           $106,432           $105,345
Homestead                   Exemption                   $25,000 $25,000 $25,000
Second Homestead            Exemption                   $25,000 $25,000 $25,000            Sales Information
Senior Homestead            Exemption                   $50,000 $50,000 $50,000            Previous                      OR Book-
                                                                                                                Price                          Qualification Description
Note: Not all benefits are applicable to all Taxable Values (i.e. County, School           Sale                           Page
Board, City, Regional).                                                                    05/02/2014      $212,000 29170-4360 Qual by exam of deed
                                                                                           03/28/2013       $80,000 28582-4429 Qual by exam of deed
Short Legal Description
                                                                                                                                       Corrective, tax or QCD; min
                                                                                           02/12/2010           $100 27188-3161
 4 & 9 56 40                                                                                                                           consideration
 CUTLER RIDGE SEC 4 PB 60-23                                                                                                           Corrective, tax or QCD; min
                                                                                           02/12/2010           $100 27188-3160
 LOT 4 BLK 22                                                                                                                          consideration

 LOT SIZE 75.000 X 110
 OR 19978-2595 102001 1

The Office of the Property Appraiser is continually editing and updating the tax roll. This website may not reflect the most current information on record. The Property Appraiser
and Miami-Dade County assumes no liability, see full disclaimer and User Agreement at http://www.miamidade.gov/info/disclaimer.asp

Version:
                                                                                                                                                  Exhibit D
